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                 EXHIBIT A
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Krishnan, Meenakshi

From:                          CopyCerts <copycerts@copyright.gov>
Sent:                          Tuesday, January 17, 2023 5:05 PM
To:                            Shapiro, Marni
Cc:                            CopyCerts
Subject:                       RE: EXPEDITED REQUEST --"SASHA SAYS" -- PAu2594108


[EXTERNAL]

Good day,

Thank you for contacting the Records Research and Certification Section.

Unfortunately, it appears that one of the work in your inquiry (PAu001594108) has been misplaced/misfiled at
our storage facility, therefore, we are unable to locate the work and provide a copy at this time. We will
continue our search efforts to locate this deposit.

We are in the process of reviewing our off-site storage data and anticipate a re-inventory of the stored
boxes. Please be aware that this effort will take a considerable amount of time due to the enormous amount of
material to be reviewed and inventory updated. A completion date for this task is not available at this
time. Please accept our apologies.

Thank you,

DeNina Scott
Customer Service Representative
Records Research and Certification
Office of Copyright Records
U. S. Copyright Office
P.O. Box 70400
Washington, DC 20024
(202) 707-6787
(202) 252-3519 (facsimile)
Email: copycerts@copyright.gov
www.copyright.gov




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